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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION

  JUAN LOZADA-LEONI,             §
           Plaintiff,            §
                                 §                      CASE NO. 4:20CV00068-RWS-CMC
       v.                        §
                                 §
  MONEYGRAM INTERNATIONAL, INC., §
  And MONEYGRAM PAYMENT          §                      JURY TRIAL DEMANDED
  SYSTEMS, INC.,                 §
             Defendants.         §


                UNOPPOSED MOTION FOR WITHDRAWAL OF COUNSEL

  TO THE HONORABLE JUDGE OF SAID COURT:

          Attorney Steve Kardell of the law firm of Kardell Law Group PC. files this Unopposed

  Motion to Withdraw as Counsel for Plaintiff, Juan Lozada-Leoni. Plaintiff will continue to be

  represented by counsel of record, Theodore Garber of The Law Office of Juan Antonio Lozada,

  PLLC.

                                                    Respectfully submitted,


                                                   KARDELL LAW GROUP




                                           By:
                                                          Steve Kardell

                                           Date:          April 7, 2020

                                                    Steve Kardell
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                                                      ATTORNEYS FOR PLAINTIFF,
                                                      JUAN LOZADA-LEONI


                              CERTIFICATE OF CONFERENCE

         Steve Kardell, counsel for Plaintiff, Juan Lozada-Leoni, conferred with all counsel on
  April 7, 2020, and represents that this Motion is unopposed, with the following caveats: counsel
  for Defendants continue to oppose any request to extend the discovery deadline or other aspects
  of the Docket Control Order (DCO), and counsel for Defendants reserve their objections to Mr.
  Lozada-Leoni appearing as his own counsel.


                                               /s/ Steve Kardell
                                               Steve Kardell



                                 CERTIFICATE OF SERVICE

          I hereby certify that on this 7th day of April 2020, a copy of the foregoing document was
  filed electronically in compliance with Local Rule CV-5(a). Therefore, this document was served
  on all counsel who are deemed to have consented to electronic service. Local Rule CV-
  5(a)(3)(A). Pursuant to Fed.R.Civ.P. 5(d) and Local Rule CV-5(e), all other counsel of record not
  deemed to have consented to electronic service were served with a true and correct copy of this
  document via e-mail, facsimile and/or U.S. First Class Mail.


                                               /s/ Steve Kardell
                                               Steve Kardell

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